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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:

Pure Prairie Poultry, Inc.,                                            Case No. 24-32426 KAC

                        Debtor.                             Chapter 11 Case
______________________________________________________________________________

             MOTION TO EXTEND TIME TO FILE SCHEDULES AND
                    STATEMENTS OF FINANCIAL AFFAIRS
______________________________________________________________________________

TO:      THE PARTIES-IN-INTEREST AS SPECIFIED IN LOCAL RULE 9013-3.

         1.      The above-named Debtor (“Debtor”), through its undersigned attorneys, move the

Court for the relief requested below and give notice of hearing.

         2.      The Court will hold a hearing on this motion at 3:00 p.m. on Wednesday,

September 25, 2024 before the Honorable Katherine A. Constantine, Courtroom 8, U.S.

Courthouse, 300 South Fourth Street, Minneapolis, Minnesota 55415.

         3.      Due to the request for expedited hearing, the Debtor will not object to the

timeliness of any response that is filed and delivered to Debtor’s counsel at least two (2) hours prior

to the hearing. UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED,

THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         4.     This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334,

Bankruptcy Rule 5005 and Local Rule 1070-1. On September 20, 2024 (the “Petition Date”), the

Debtor filed a voluntary petition under Chapter 11. This case is currently pending before this

Court.

         5.     This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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        6.     This Motion arises under 11 U.S.C. § 521(a)(1), Bankruptcy Rule 1007(c), and

Local Rule 1007-4(b), and is filed pursuant to Local Rule 9013-4(c).

        7.      Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Local Rule 1007, the Debtor’s schedules and statements of financial

affairs (collectively, the “Schedules and Statements”) are currently due on or before October 4,

2024. By this Motion, the Debtor seeks entry of an order extending the time to file the Schedules

and Statements through and including October 18, 2024.

        8.      The Bankruptcy Rules provide a debtor fourteen days to file schedules and

statements, which in turn allows creditors time to “come to grips with the case” before the meeting

required by 11 U.S.C. § 341. In re Greene, 127 B.R. 805, 806 (Bankr. N.D. Ohio 1991).

        9.      An “extension of time to file schedules, statements, and other documents required

under this rule may be granted only on motion for cause” and after notice to the U.S. Trustee and

other parties in interest. Fed. R. Bankr. P. 1007(c); In re Campbell, 266 B.R. 709, 712 (Bankr.

W.D. Ark. 2001).

        10.     The Declaration of George Peichel in Support of Chapter 11 Petition and Initial

Motions (the “First Day Declaration”) describes the exigencies preceding this Chapter 11 filing.

Completion of the Schedules and Statements requires an expenditure of significant time and effort

by a core group of the Debtor’s key management employees. Given the compressed time between

the decision to file and the Petition Date, it is unlikely the Debtor can provide accurate and

complete Schedules and Statements of Financial Affairs by the current deadline.

        11.     The effort required to provide accurate and complete Schedules and Statements

for this Chapter 11 case is significant. The Debtor has in excess of 900 vendors and approximately

300 former and current employees. The Debtor has been able to utilize only a small, core group of



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management employees to compile the information necessary to complete the various motions and

applications that have been or will be filed with the Court. The same small group of management

employees has been actively leading up all important aspects of the Debtor’s ongoing business –

working to maintain operations as close to “normal” as possible, while at the same time

participating in negotiations with lenders and other creditors, and collaborating with consultants

to secure financing and to attract potential investors and/or buyers for the business. They must

also shoulder much of the burden associated with locating information for the creditor matrix,

gathering and supplying up-to-date financial and other information for inclusion in the Schedules

and Statement of Financial Affairs and spearheading the Debtor’s efforts to effectively address the

myriad lender, employee, customer, and vendor issues raised by the filing of the Debtor’s Chapter

11 case.

        12.     To assemble the large quantity of information required for the completion of

accurate and reliable Schedules and Statements in the next two weeks would cause a significant

drain on the resources of the estate, and, thus, the overall benefit to creditors resulting from

complete and accurate information must be balanced with the cost to the estate to provide that

information.

        13.     The Debtor believes that allowing fourteen extra days to file the Schedules and

Statements will allow them to provide complete and accurate information in the most cost effective

way and constitutes good and sufficient cause for granting the extension of time requested herein.

        14.     The Debtor believes extension of the deadline through and including October 18,

2024 will provide sufficient additional time to complete, verify, and file the Schedules and

Statements. The proposed October 18, 2024 deadline will give the Debtor time to ensure that the

Schedules and Statements are complete and accurate, which will benefit all parties in interest.



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        15.         Even if the extension is granted, the proposed deadline continues to require that

the Schedules and Statements be filed before the deadline to hold the meeting of creditors required

under Section 341 of the Bankruptcy Code and Bankruptcy Rule 2003.

        16.        The Debtor believes it will file the Schedules and Statements on or before October

18, 2024. Nonetheless, the Debtor reserves the right to seek further extensions from this Court for

good cause shown.

        17.         Based on the foregoing, the Debtor submits that the relief requested herein is

necessary and appropriate, is in the best interests of its estate and creditors, and should be granted

in all respects.

        18.         This Motion is verified, and is accompanied by a proposed order and proof of

service.

        WHEREFORE, the Debtor respectfully requests that the Court enter an order (a) extending

the time by which the Debtor must file the Schedules and Statements through and including

October 18, 2024, or such later date approved by the Court, and (b) granting such other relief as

the Court deems just and equitable.




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                                             TAFT STETTINIUS & HOLLISTER LLP

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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:

Pure Prairie Poultry, Inc.,                                         Case No. 24-32426 KAC

                        Debtor.                             Chapter 11 Case
______________________________________________________________________________

      ORDER APPROVING DEBTOR’S MOTION TO EXTEND TIME TO FILE
           SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS
______________________________________________________________________________

         This case is before the court on Debtor’s Motion to Extend Time to File Schedules and

Statements. Capitalized terms not defined in this order have the meanings ascribed to them in the

Motion. Based on the Motion and all of the files, records, and proceedings in these cases,

         IT IS HEREBY ORDERED:

         1.     The Motion is granted.

         2.     The time within which the Debtor must file the Schedules and Statements is

extended through and including October 18, 2024.




Dated: _______________                              ___________________________________
                                                    United States Bankruptcy Judge




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